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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                            CASE NO. 3:94cr3012 LAC

RAY ANTHONY WILLIAMS

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on JULY 17, 2008
Motion/Pleadings: MOTION TO DISMISS INDICTMENT FOR LACK OF SUBJECT
MATTER JURISDICTION, CONSTRUCTIVE AMENDMENT AND “STRUCTURAL
ERROR”
Filed by DEFENDANT PRO SE              on 6/30/08   Doc.# 801

RESPONSES:
BY GOVERNMENT                                  on 7/16/08              Doc.# 808
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it    is   ORDERED    this     22 nd   day   of
July, 2008, that:
(a) The relief requested is DENIED.
(b) Untimely and without merit.



                                                                 s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge



Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
